US District Court

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Westem District of North Caro|ina G\_\PEF§,O“E E'“
401 w Trade st RM 210 9 leigh
charlotte Nc 28202 51 too ourt
us SD\S“_\G i\\\G
G\e¥\<ve m'\D \5“\()t o
RE: 3:16-cR-200 W"'SW‘

To Whom it may concern,

Please accept my sincerest apologies for any confusion _l may have caused regarding the case
3:16-CR-200. lt was not my intent to absent myself from the proceedings. lt has come to my
attention that B|LLY DARRYL FLOVD is being sought out to settle the matter at hand.

l must stress however that l am very confused as to whether l was to even return. Forcefully
thrown from property with unnecessary force on N|ay 15th, 2017 by approximately 10 Federa|
lVlarsha|s, l was told by them never to retum. | would like to accept another chance to settle and

close this case.

Sincerely,

 

Wl HOUT THE UN|TED STATES
F|oyd, Bi|ly Darryl

Case 3:16-cr-00200-I\/|OC-DSC Document 101 Filed 09/06/17 Page 1 of 1

 

